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                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

UNITED STATES OF AMERICA               §
                                       §
     v.                                §      Case No. 4:22-cr-612
                                       §
CONSTANTINESCU, et al.                 §      The Honorable Andrew S. Hanen
                                       §
     Defendants.                       §




 United States’ Response in Opposition to Defendant Constantinescu’s Second Motion to
                                        Dismiss
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        The Constitution and laws of the United States do not countenance fraud. Engaging in a

fraudulent scheme to deprive victims of money or property through false and misleading

representations and material omissions is against the law and has been for generations. The

Superseding Indictment adequately alleges such a fraud scheme involving securities and a

conspiracy to commit the same. Defendants were on notice that such schemes were prohibited.

And the Superseding Indictment alleges that Defendants had fraudulent intent while they executed

the scheme—in other words, they knew exactly what they were doing. As such, the Court should

deny Defendants’ Motion to Dismiss (ECF No. 261). 1

        The United States, by and through its undersigned counsel, respectfully submits this brief

in opposition to Defendants’ Motion. After preliminaries, the United States explains that:

(1) Defendants’ alleged false and fraudulent statements are precisely the sort of misleading “half-

truths” or omissions of material fact proscribed by Section 1348; and (2) Section 1348 expressly

prohibits schemes to defraud involving securities, and such fraud schemes have long been

prohibited, such that this prosecution comports fully with the Due Process Clause.

                                           Relevant Background

        The Superseding Indictment (ECF No. 134), 2 returned by the Grand Jury on February 8,

2023, charges Defendants with a conspiracy to commit securities fraud (Count 1, 18 U.S.C.

§ 1349), nineteen substantive counts of securities fraud (Counts 2–20, 18 U.S.C. § 1348), and one



        1
          To the extent the arguments in the Motion apply to other Defendants in this case, either by explicit
adoption or implication, the United States intends for its responses to apply to all other relevant Defendants
as well. (See, e.g., Br. at n.1; ECF Nos. 266, 268, 271.) Further, in an effort to maximize judicial economy
by not restating all facts or arguments in full, the United States intends for all of its responses to Defendants’
various motions to dismiss to be read together, to the extent that facts or argument presented in one response
are relevant to another.
        2
         The United States presumes the Court, by now, is familiar with the allegations of the Superseding
Indictment. As such, the United States highlights only pertinent portions here and incorporates the full
document by reference.

                                                        1
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count of money laundering (Count 21, 18 U.S.C. § 1957). Defendant Constantinescu a/k/a

Constantin himself is charged with the conspiracy (Count 1), five substantive counts of securities

fraud (Counts 2, 14, 15, 18, & 20), and money laundering (Count 21).

        The Superseding Indictment in this case contains 34 pages and 115 paragraphs of

introductory allegations preceding the paragraphs containing the charging language. (See generally

Superseding Indictment (“SI”), ECF No. 134.) Those 115 introductory paragraphs include both

general and specific allegations that explain in significant detail how the scheme operated. (See id.

¶¶ 1–115.) For example, the first paragraph alleges the scheme generally, stating that Defendants:

               engaged in a scheme to “pump and dump” securities based on false
               and misleading information and material omissions about those
               securities that Defendants published on social media platforms,
               including Twitter, Inc. and Discord, Inc. To carry out the scheme,
               Defendants (1) purchase shares of a security in their trading
               accounts; (2) posted messages on social media platforms with false,
               positive information about the security—including as to, among
               other things, Defendants’ position in the security, how long
               Defendants intended to hold the security, Defendants’ view that the
               security would increase in price, and the price the security could
               reach—to induce other investors to buy the security and artificially
               drive up its price, and (3) secretly sold their own shares of the
               security at a higher price to secure a profit for themselves, at or
               around the time they posted messages to induce other investors to
               purchase the same security and concealed their intent to sell.

(Id. ¶ 1.)

        After that, paragraphs 2 through 9 introduce Defendants and include specific details about

their social media accounts and other information relevant to the means by which they executed

their scheme. Those details include discussing Defendant Constantinescu’s Twitter account with

over 500,000 followers, @MrZackMorris; the Atlas Trading Discord with over 250,000 followers;

the other Defendants’ Twitter accounts with, collectively, hundreds of thousands of followers;




                                                 2
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Defendant Hennessey’s and Defendant Knight’s podcast, Pennies: Going in Raw; and other details

relevant to the furtherance of the alleged scheme. (See id. ¶¶ 2–9.)

       Paragraphs 10 through 19 then provide additional general detail about Defendants’ scheme,

including specific examples of both the types of social media posts used to execute the scheme

and private communications discussing it. (See id. ¶¶ 10–19.) For example, paragraph 13

specifically details even more examples of the types of false and misleading statements at the core

of this case. Those statements, as laid out in the Superseding Indictment, include:

               a. Messages representing that a defendant intended to hold the
                  security, including for a “swing” or a longer-term trade, as
                  opposed to a short-term trade or day trade;

               b. Messages representing that a defendant “joined” another
                  defendant in purchasing the security or was “adding” to a
                  position in the security;

               c. Messages concerning a purported price target for the security
                  that was significantly higher than the price at which the security
                  was currently trading, and that was higher than Defendants
                  actually valued the security; and

               d. Messages concerning “due diligence” about the security and
                  purported catalysts that would increase the security’s price over
                  time.

Id. ¶ 13. Critically, paragraph 14 further explains the false and fraudulent nature of the scheme:

               These messages were false and misleading, and omitted material
               information because Defendants concealed their intent to use these
               messages to induce other investors to purchase the securities so that
               defendants could sell their shares at a higher price at and around the
               time of the messages. Indeed, because Defendants recognized that
               their followers on Twitter and members of Atlas Trading Discord
               frequently purchased securities based on Defendants’ social media
               posts, Defendants sought to conceal from, and further mislead, their
               Twitter followers and members of Atlas Trading Discord about
               Defendants’ true trading positions and intentions. In this way,
               Defendants used social media to induce other investors to purchase
               and hold the same securities that Defendants were selling or
               dumping so that Defendants could maximize their own profits.


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(Id. ¶ 14.)

        The Superseding Indictment also includes specific allegations that Defendants lied to cover

up their scheme, presenting further allegations from which fraudulent intent may be inferred. For

example, paragraph 15(d) states: “[o]n or about February 20, 2022, CONSTANTIN falsely

claimed in a tweet, ‘I never dump on my followers . . . .’” (Id. ¶ 15(d).) Paragraph 17 continues:

“defendants’ efforts to mislead and conceal material information from other investors concerning

defendants’ true trading activity was critical to the continued success of the scheme . . . .” (Id. ¶

17.) Specifically, the Superseding Indictment includes Defendant Constantinescu’s instructions to

Defendant Matlock in a private Discord exchange on or about January 20, 2021:

                CONSTANTIN:           It looks like we are front loading
                CONSTANTIN:           Yea when you post right after
                CONSTANTIN:           With [Individual-1] too
                CONSTANTIN:           Just save yours for a dip
                CONSTANTIN:           You post when there is a dip and say you
                                      joined then
                CONSTANTIN:           Works better because well save more plays
                                      that way
                CONSTANTIN:           No you’re good
                CONSTANTIN:           Just been seeing a lot of Twitter trash talking
                                      about it
                CONSTANTIN:           So we gotta look less obvious
                CONSTANTIN:           The dip buy sh*t is the best
(Id. ¶ 18.) 3

        Further still, the Superseding Indictment then provides copious detail about ten specific

examples of the scheme in operation, corresponding to ten of the substantive counts of securities




        3
          Notably, Defendant Matlock’s side of the conversation is missing because the United States
understands Defendant Matlock’s prior Discord messages were deleted at some point before the United
States obtained those records. That presents more circumstantial evidence of fraudulent intent.

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fraud alleged. (See id. ¶¶ 20–121.) These paragraphs include numerous examples of Defendants

coordinating the scheme in private before posting publicly. (See, e.g., id. ¶¶ 22, 24, 26, 56–61, 65–

70.) For example, paragraph 103 details a Twitter private message exchange Defendant

Constantinescu had on or about August 13, 2021:

               CONSTANTIN:            [forwarding a link to a chat room]
               CONSTANTIN:            That’s my secret dat chat
               CONSTANTIN:            I’m keeping the room locked
               CONSTANTIN:            We’re only buying on float ipos and locking
                                      up the float
               CONSTANTIN:            Without pumping on Twitter
               CONSTANTIN:            Keep this to yourself. I’m only inviting
                                      people I think are good.
               Individual-2:          I’m in . . . Lips are sealed
               CONSTANTIN:            We have the dats float locked
               Individual-2:          YES. I’m holding. In at 4.76

(Id. ¶ 103.) The Superseding Indictment proceeds to allege the pump-and-dump of the stock DATS

in the ensuing paragraphs. (Id. ¶¶ 104–110.) The Superseding Indictment also describes how, after

that pump-and-dump of DATS, Defendant Constantinescu stated privately that he was not still

holding DATS stock, while publicly he continued to express support for the stock. (Compare id. ¶

109 with id. ¶ 110.)

       The Superseding Indictment also references audio recordings in which certain Defendants

are discussing the scheme in private while also trading and commenting on other Defendants’

public posts in furtherance of the scheme. (See, e.g., id. ¶¶ 45–50.) The Superseding Indictment

also includes copious details—far more than constitutionally required in light of all the other

allegations—about three of the tickers and time periods forming the basis for substantive securities

fraud charges against Defendant Constantinescu. (See id. ¶¶ 92–115.)



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         Finally, all of those initial 115 paragraphs, including both the general facts sections and the

ten examples of specific means of execution, are expressly incorporated into the central charging

paragraphs for the conspiracy and substantive securities fraud offenses. (See id. ¶¶ 116–121.)

         On March 31, 2023, the United States, produced to the defense, voluntarily and to maintain

the October 23, 2023 trial date, the stock tickers and time periods of trading that may be at issue

for trial. 4 By the June 15, 2023 expert disclosure date, the United States will specifically identify—

among Defendants’ social media records that the United States had produced in January 2023—

the full set of Defendants’ social media posts that the United States contends are false or fraudulent

in furtherance of the scheme and may be at issue as such for trial.

                                            Legal Standard

         It is beyond dispute that “[a]n indictment returned by a legally constituted and unbiased

grand jury . . . if valid on its face, is enough to call for a trial of the charge on the merits.” Costello

v. United States, 350 U.S. 359, 363 (1956). “The dismissal of an indictment is an ‘extraordinary

remedy’ reserved only for extremely limited circumstances implicating fundamental rights.” United

States v. De La Pava, 268 F.3d 157, 165 (2d Cir. 2001) (quoting United States v. Nai Fook Li, 206

F.3d 56, 61 (1st Cir. 2000) (en banc), cert. denied, 531 U.S. 956 (2000)).

         An indictment is constitutionally sufficient if it (1) contains the offense elements, (2) fairly

informs the defendant of the charge, and (3) enables him to plead an acquittal or conviction as a bar

to future prosecutions of the same offense. See United States v. Resendiz-Ponce, 549 U.S. 102, 108

(2007). “Apart from meeting this minimum constitutional standard, the government need not

describe all evidentiary details establishing the facts of the [allegations.]” United States v. Rafoi,



         4
          Note that the United States reserved the right to make any necessary edits to this voluntary
disclosure that may come to light during the expert process by the expert disclosure deadline, which is June
15, 2023. (See Scheduling Order, ECF No. 254; Response, ECF No. 234, Exs. 1–2.)

                                                     6
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No. 21-20658, 2023 WL 1811921, at *3 (5th Cir. Feb. 8, 2023) (reversing district court’s grant of

defendants’ motion to dismiss because indictment adequately conformed to minimal constitutional

standards). An indictment that tracks the language of the statute is generally adequate. See, e.g.,

United States v. Bailey, 444 U.S. 394, 414 (1980); United States v. Franco, 632 F.3d 880, 884–885

(5th Cir. 2011) (per curiam). Only in “very rare cases” must an indictment specify in detail “how a

particular element of a criminal charge will be met.” United States v. Stringer, 730 F.3d 120, 125–

26 (2d Cir. 2013).

         In assessing a motion to dismiss, the Court is “required to take the allegations of the

indictment as true and to determine whether an offense has been stated.” United States v. Kay, 359

F.3d 738, 742 (5th Cir. 2004) (internal quotation and citation omitted). “[A] court only grants a

motion to dismiss if, as a matter of law, the ‘infirmity’ is such that the indictment fails to allege

facts that, if true, would constitute a prosecutorial offense.” United States v. Cheng, No. 4:20-cr-

455, 2022 WL 112026, at *5 (S.D. Tex. Jan. 12, 2022). “[A] court must deny a motion to dismiss

if it relies on disputed facts.” Id. (citing Kay, 359 F.3d at 742; United States v. Hogue, 132 F.3d

1087, 1089 (5th Cir. 1998)).

                                             Argument

    I.      Defendants’ alleged false and fraudulent statements are precisely the sort of
            misleading “half truths” or material omissions proscribed by Section 1348.

            A. It is beyond dispute that misleading “half-truths” that omit or conceal
               material facts are “false” or “fraudulent” as a matter of law.

         Defendants are charged with securities fraud under both prongs of 18 U.S.C. § 1348, and

conspiracy to commit the same under 18 U.S.C. § 1349. As relevant to the issues in this Motion,

Section 1348 states:

                Whoever knowingly executes, or attempts to execute, a scheme or
                artifice—

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                 (1) to defraud any person in connection with any . . . security . . . ;
                     or
                 (2) to obtain, by means of false or fraudulent pretenses,
                     representations, or promises, any money or property in
                     connection with the purchase or sale of any . . . security . . . shall
                     be fined under this title, or imprisoned not more than 25 years or
                     both.
18 U.S.C. § 1348 (emphasis added). 5

        “[B]ecause the text and legislative history of 18 U.S.C. § 1348 clearly establish that it was

modeled on the mail and wire fraud statutes, it is useful to be guided by the numerous and well-

established precedents on those statutes in construing this statue.” United States v. Mahaffy,

No. 05-cr-613, 2006 WL 2224518, at *11 (E.D.N.Y 2006); see also United States v. Matthews, 31

Fed. App’x 838, 2002 WL 261421, at *8 (5th Cir. 2002) (“Modeled after the mail and wire fraud

statutes, 18 U.S.C. §§ 1341 and 1343, the bank fraud statute is interpreted in the light of the

precedent interpreting those statutes.”). 6 Thus, Section 1348 imports the meanings of terms—

importantly here, “defraud,” “false,” and “fraudulent,” among others—from cases interpreting

those terms in the mail, wire, and bank fraud statutes (§§ 1341, 1343, 1344). See, e.g., United

States v. Smith, 555 F. Supp. 3d 563, 573 (N.D. Ill. 2021) (“‘Scheme to defraud’ is a legal term of


        5
          Although Defendant’s Motion focuses only on the term “false,” both prongs are charged and a
fraudulent scheme is alleged. The Court could ignore the term “false” altogether and still find the allegations
of the Superseding Indictment should go to a jury.
        6
          See also United States v. Chanu, 40 F.4th 528, 541 (7th Cir. 2022) (“We note, however, that the
commodities fraud statute, 18 U.S.C. § 1348, was modeled on the mail and wire fraud statutes—as
evidenced by its text and legislative history.”); United States v. Coscia, 866 F.3d 782, 799 (7th Cir. 2017)
(“Because section 1348 was modeled on the federal mail and wire fraud statutes, the district court certainly
was on solid ground in looking to the pattern jury instruction for those offenses.”); United States v. Wey,
15-cr-611, 2017 WL 237651, at *9, n.6 (S.D.N.Y. Jan. 18, 2017) (“Several courts have recognized that
because the text and legislative history of 18 U.S.C. § 1348 clearly establish that it was modeled on the
mail and wire fraud statutes, an analysis of Section 1348 should be guided by the caselaw construing those
statutes.” (internal quotations and citation omitted)); United States v. Motz, 652 F. Supp. 2d 284, 296
(E.D.N.Y. 2009) (“The parties agree that because the text and legislative history of 18 U.S.C. § 1348 clearly
establish that it was modeled on the mail and wire fraud statutes, the Court’s analysis should be guided by
the caselaw construing those statutes.” (internal quotations and citation omitted)).

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art littered throughout federal criminal law. . . . The term has the same meaning across the wire

fraud, bank fraud, and commodities-fraud [§ 1348] statutes.”).

       The Fifth Circuit has long held that “[a] statement or representation may also be ‘false’ or

‘fraudulent’ when it constitutes a half-truth or effectively conceals a material fact, with intent to

defraud.” United States v. Martino, 648 F.2d 367, 393 (5th Cir. 1981); see also United States v.

Lucas, 516 F.3d 316, 341–42 (5th Cir. 2008); United States v. Schmidt, 229 F.3d 1148, 2000 WL

1239189, at *7–8 (5th Cir. 2000); United States v. Moser 123 F.3d 813, 826 (5th Cir. 1997).

Indeed, “[t]he statements need not be false or fraudulent on their face, and the accused need not

misrepresent any fact . . . .” United States v. Townley, 665 F.2d 579, 585 (5th Cir. 1982).

       As the Fifth Circuit explained in United States v. Matthews, “a scheme may be fraudulent

even though no affirmative misrepresentation of fact be made. The deceitful concealment of

material facts may also constitute actual fraud.” 2002 WL 261421, at *8 (quoting Blachly v. United

States, 380 F.2d 665, 673–74 (5th Cir. 1967)). The court continued:

               Most circuits agree false representations or statements include
               concealment of material facts. See, e.g., United States v. Colton, 231
               F.3d 890, 901 (4th Cir. 2000) (“deceptive acts or contrivances
               intended to hide information, mislead, avoid suspicion, or avert
               further inquiry into a material matter” sufficient proof for scheme to
               defraud); United States v. Molinaro, 11 F.3d 853, 861 (9th Cir.
               1993), cert. denied, 513 U.S. 1059, 115 S. Ct. 668, 130 L.Ed.2d 602
               (1994) (concealment of nature of a financial transaction part of
               scheme to defraud); United States v. Goodman, 984 F.2d 235, 240
               (8th Cir. 1993) (scheme to defraud shown by “nondisclosure
               manifesting an intent to defraud”); United Sates v. Olatunji, 872
               F.2d 1161, 1167 (3d Cir. 1989) (false representations include
               “deceitful statements of half truths or the concealment of material
               facts”) (quoting United States v. Allen, 554 F.2d 398, 410 (10th Cir.
               [1977]), cert denied, 434 U.S. 836, 98 S. Ct. 124, 54 L.Ed.2d 97
               (1977)); United Sates v. Walker, 871 F.2d 1298, 1308 (6th Cir.
               1989) (statement containing half truths or concealing material fact
               is false); United States v. Sawyer, 799 F.2d 1494, 1502 (11th Cir.
               1986), cert denied, 479 U.S. 1069, 107 S. Ct. 961, 93 L.Ed.2d 1009

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                  (1987) (scheme to defraud includes false representations or
                  concealing material facts).
Id. at *8, n.8.

        Similarly, the Fifth Circuit Pattern Jury Instructions for wire fraud (§ 1343) make clear

that: “[a] representation [pretense] . . . is ‘false’ if it is known to be untrue or is made with reckless

indifference as to its truth or falsity. A representation [pretense] . . . would also be ‘false’ if it

constitutes a half truth, or effectively omits or conceals a material fact, provided it is made with

the intent to defraud.” 7 Fifth Circuit Committee on Pattern Jury Instructions, Pattern Jury

Instructions (Criminal Cases), § 2.57, “Wire Fraud” (2019 ed.).

        Thus, it is beyond dispute in the Fifth Circuit and across the nation that half-truths, or

concealments of material fact, advanced with the intent to defraud may be “false” or fraudulent

under the fraud statutes. See, e.g., United States v. Neder, 527 U.S. 1, 24–25 (1999) (holding that

a material omission can amount to wire fraud); United States v. Chanu, 40 F.4th 528, 541 (7th Cir.

2022) (“Failure to give the whole story may also be fraud, especially when a defendant actively

conceals information.”); United States v. Stephens, 421 F.3d 503, 507 (7th Cir. 2005) (“A half

truth, or what is usually the same thing [as] a misleading omission, is actionable as fraud . . . if it

is intended to induce a false belief and resulting action to the advantage of the misleading and

disadvantage of the misled.” (internal quotations and citation omitted)). 8




        7
          The instructions for bank fraud (§ 1344) also contain a nearly identical definition of “false.” See
Fifth Circuit Pattern Crim. J. Instrs., § 2.66, “Bank Fraud.”
        8
          Black’s Law Dictionary defines a “fraudulent misrepresentation” as “[a] false statement that is
known to be false or is made recklessly—without knowing or caring whether it is true or false—and that is
intended to induce a party to detrimentally rely on it.” Misrepresentation, Black’s Law Dictionary (11th ed.
2019).

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             B. Defendants’ at-issue statements were false or fraudulent because, as alleged,
                they constituted just the sort of misleading half-truths or omissions proscribed
                by the fraud laws and Defendants had the intent to defraud.
       That entire body of fraud law—almost completely ignored by Defendants—makes clear

the Superseding Indictment is legally sufficient and its allegations must go to the jury.

       Defendants’ at-issue statements are so numerous and diverse that they are not all alleged

to be false, fraudulent, or misleading in precisely the same way and they do not permit easy

categorization. But they all do fall squarely under the umbrella of fraud: they are exactly the

quintessential “half-truths,” implied misrepresentations, or omissions that paint a public perception

of doing one thing, while concealing the privately harbored fraudulent intent to do another.

Compare (SI ¶¶ 103–10) with Matthews, 2002 WL 261421, at *8.

       For example, by posting on social media as alleged, Defendants would publicly purport an

intent to hold a stock to a certain price target or “swing” a stock for several days. In so doing,

Defendants are alleged to have concealed that the statements were objectively false because

Defendant’s privately harbored a fraudulent intent that was contrary to their public display—they

intended to sell the stock into the volume and hopeful price spike generated by their social media

messages and omitted that critical objective fact from their false representations and pretenses.

(See, e.g., SI ¶¶ 1, 13–14, 103–10.)

       The Court already seems to understand this, as evidenced by its comments at the April 12,

2023 hearing. (Apr. 12, 2023 Hr’g Tr. (“Tr.”) at 23:22–24 (“When you say one thing and do

another, isn’t that what the jury, ultimately the fight is going to be over in front of the jury?”)). 9



       9
           The Court made other similar statements:
                 THE COURT:            If I have a zillion followers on Twitter and I say,
                                       “Man, this is the greatest thing since sliced bread,”
                                       that’s a statement I would think of opinion, but at


                                                      11
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Saying one thing while doing another, all with fraudulent intent: that is what is alleged in the

Superseding Indictment, it must be taken as true, and a jury should decide whether or not it in fact

is so. Cheng, 2022 WL 112026 at *5. It’s that simple.

        Take the two purportedly distinct categories of statements Defendant raises in his motion:

(1) “speculations” about Defendants’ intent to hold (or not sell) a security; and (2) “speculations”

about the future price of a stock. 10 (Def.’s Br. (ECF No. 262 (“Br.”)) at 2.) Statements in “category

one”—statements about Defendants’ present trading intentions—are statements of falsifiable fact.

When Defendant posted publicly, for example, “$DATS I’m holding shares LT [long term],” that

is a fact he represented to the world about his intention at the time—that he in fact planned to hold

shares long term. But, as alleged, that statement is false within the meaning of the fraud laws,

because he omitted and concealed that he in fact planned to sell shares into the volume and hopeful

price spike generated by his post, all with fraudulent intent. Such allegations state a quintessential

fraud. It is up to the jury to decide what is true. See, e.g., Cheng, 2022 WL 112026 at *5.




                                        the same time I’m saying that, I’m dumping my
                                        shares, is that actionable?
                 MS. CORDOVA:           Your Honor, I believe it would be in certain
                                        circumstances, . . . my understanding generally is
                                        that you have to prove both objective and subjective
                                        falsity in those instances, both that it is not as great
                                        as sliced bread and that you did not believe it was
                                        as great as sliced bread at the time.
                 THE COURT:             And both of those sound like jury issues to me.

(Tr. at 55:21–56:11.)
        10
            The United States disagrees both that these two categories of statements are entirely distinct, and
that all at issue statements fall squarely into only these two categories. For example, stating a future price
target may also reasonably be understood as a statement of the trader’s intention to hold shares until the
stock reaches that price target, collapsing Defendant’s two categories. But precisely categorizing each and
every at-issue statement is unnecessary for the Court to reach the proper conclusion that the Superseding
Indictment adequately alleges the crimes charged.

                                                      12
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        Statements in “category two”—statements about a stock’s price like “$DATS $30+ maybe

$50 or $100” or “$CEI is going to 10”—present numerous bases on which the statements may be

false or fraudulent. 11 How and if they are false are core questions of disputed fact that must go to

a jury. Critically, for example, such statements may be fairly understood actually as statements in

the first category: statements of pure fact about Defendants’ present intentions. For example, the

first statement above may fairly be understood as: “I am holding DATS until it gets to $30+ per

share, maybe even $50 or $100.” Indeed, nowhere in the post itself does it make clear in any way

that those were Defendant’s “speculations” as he now maintains in his self-serving papers. That

word—“speculations”—was completely absent until it showed up in Defendant’s brief. It is a

classic, impermissible attempt to contest the allegations in the indictment by introducing facts

outside the four corners of the indictment. Such an effort must wait for trial. Cheng, 2022 WL

112026 at *5.

        And that information likely would have been important for followers to know: these

supposedly successful stock traders who held themselves out to the public as wealthy due to their

trading skill were simply speculating with no sound basis in fact and no intent themselves to follow

those speculations. That itself may constitute a material omission or render the statement a

fraudulent pretense, and it is precisely the sort of representation proscribed by the fraud law as laid

out in the Fifth Circuit Jury Instructions. Pattern Jury Instr. § 2.57 (“A representation [pretense] .

. . is ‘false’ if it is known to be untrue or is made with reckless indifference as to its truth or falsity.”

(emphasis added)). Such statements also are objectively false statements of fact because it is

alleged Defendants did not actually intend to hold the stock to those price targets—they both lied



        11
           As noted, the defense makes category mistakes in its attempted delineation and sorting of the
at-issue statements, which the United States only adopts in argument and to respond to the Motion. The
categories Defendant presents are not wholly analytically distinct, as demonstrated.

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about their intent (objectively false) and had fraudulent intent while so doing (subjectively false).

Defendants cannot reach outside the indictment to inject concepts that such statements were mere

harmless speculation as a matter of law—that is not what is alleged and that is an argument only

proper for a jury.

        Such statements also may be understood as opinions that are similarly objectively

falsifiable. Reasonable readers could understand those statements as conveying, “I believe DATS

will go to $30 per share,” or “I believe the fair value of $DATS as the company stands today is

$30 per share.” 12 Understood in this way, these are squarely the types of false and misleading

statements or fraudulent pretenses prohibited by the fraud laws when made with fraudulent intent.

See supra at 7–10. In making such statements, Defendants painted a public perception that they in

fact believed in those price predictions, while omitting and concealing the alleged truth that they

did not so believe, all with fraudulent intent, i.e., to induce others to part with money or property

to Defendants’ benefit. Thus, it is the defense arguments (not the Superseding Indictment) that

conflate the two distinct elements of fraud: (1) objectively false or fraudulent pretenses and

(2) subjective fraudulent intent. It is up to the jury to consider if and how the at-issue statements

are false or fraudulent as alleged and whether Defendants had fraudulent intent in making them.


        12
            These sorts of statements may be fairly understood as a statements that the stock itself is either
intrinsically a good investment, as it will rise to those levels, or that it will be trading at those levels within
a reasonable proximity to the statement. Although these are short-hand statements, they could fairly be
understood as statements of Defendants’ belief in the company’s current valuation: with this many shares
outstanding and today’s balance sheet, income statement, cash flow statement, and future prospects of the
company, a fair price per share today is $10. Defendants allegedly held themselves out to the public as
being skilled, wealthy stock traders to bolster their credibility and the effectiveness of their false pretenses,
all of which supports the implication that there is some reasonable basis for their public statements about
stocks. But it’s unnecessary to even reach that level of detail because Defendants made the public statements
as if it was their actual belief, the stock was not in fact trading at or anywhere near that price target,
Defendants sold well prior to that target, and Defendants made the statement at the same time concealing
the alleged truth both that it was not in fact their beliefs and their fraudulent intent. That is what is alleged
and must be taken as true. Whether or not Defendants did so believe those predictions is an issue of fact for
the jury. See, e.g., Cheng, 2022 WL 112026 at *5.


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        And the jury must consider those questions with the context of all relevant evidence.

Underscoring Defendants’ impermissible efforts to dismiss the case, Defendants repeatedly (and

erroneously) speculate about how the United States intends to prove this case at trial. (See, e.g.,

Br. at 2.) Defendant states in his brief no fewer than five italicized times that the Superseding

Indictment relies “solely” on Defendants’ public posts and trading records as evidence of intent.

That is another false statement. The Superseding Indictment does not, as Defendant suggests, “ask

the jury to infer falsity of the 21 tweets based solely on Constantinescu’s subsequent sales of the

securities.” (Br. at 2.) Rather, it is clear from a cursory read that there are myriad types and sources

of evidence that form distinct bases to infer that Defendants did not, in fact, believe what they were

saying publicly.

        Even if public posting and contrary trading records were the only basis in the Superseding

Indictment from which to infer falsity, that would be sufficient circumstantial evidence of a

disputed intent for a jury to decide the truth. But comparison of the trade and tweet records is only

one of the many types of intent evidence in the Superseding Indictment that the defense completely

ignores. Other intent evidence that is clearly laid out within the four corners of the Superseding

Indictment include:

            •   Private communications coordinating the scheme, including
                Defendant Constantinescu’s own (e.g., SI ¶¶ 18, 22, 24, 26, 56–61,
                65–70, 103);
            •   Private communications that are contrary to Defendant’s publicly
                declared sentiments (compare id. ¶ 109 with id. ¶ 110);
            •   Public messages attempting to cover up the scheme that differ from
                Defendants’ private sentiments or trading activity (e.g., id. ¶¶ 15,
                17–18);
            •   Recorded conversations in which several Defendants discuss their
                scheme and demonstrate their fraudulent intent (e.g., id. ¶¶ 45–50);



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             •   All along with both the trading and social media records and the
                 general allegations of the details of the scheme (e.g., id. ¶¶ 1, 13–
                 14, 20–121).

See supra at 1–6. This all must be accepted as true. Kay, 359 F.3d at 742. And there will be far

more at trial. The defense takes a different view of the evidence. But, as this very Court has

recognized, “a court must deny a motion to dismiss if it relies on disputed facts.” Cheng, 2022 WL

112026 at *5; see also (Tr. at 23:22–24).

                                             *        *       *

        In short, the Superseding Indictment sufficiently alleges that Defendants made false and

misleading statements with the requisite fraudulent intent in furtherance of their securities fraud

scheme such that a jury should decide what is true. See id.

             C. Opinions may be objectively false or fraudulent under Supreme Court
                precedent.

        Defendants’ arguments that the at-issue statements cannot be objectively false because they

are opinions or they rely on Defendants’ states of mind are incorrect statements of law and logic.

The Court need not (indeed, should not) look beyond the relevant law of Title 18 fraud to reach

that decision. 13


        13
           The Court should not, as Defendants consistently invite it to do, give preference to Title 15 and
cases interpreting its provisions over cases interpreting the Title 18 fraud statutes. As demonstrated by
courts that have interpreted Section 1348, as well as its legislative history, Section 1348 was passed
precisely to avoid becoming ensnared in the “psychic thicket” of concepts developed in the context of
wholly different, hyper-technical securities law language and requirements developed in response to wholly
different concerns (e.g., vexatious civil litigation). See, e.g., United States v. Ramsey, No. 19-cr-268, 2022
WL 596378, at *9 (E.D. Pa. Feb. 28, 2022) (“[N]umerous courts have recognized that Congress drafted
§ 1348 to be broader and less technical than the existing criminal prohibitions within the Securities
Exchange Act.”); Motz, 652 F. Supp. 2d at 294 (citing 148 Cong. Rec. S7420–21 (daily ed. July 26, 2002)
(statement of Sen. Leahy), available at 2002 WL 1731002); infra at 26 n.19; see also Omnicare v. Laborers
Dist. Council Const. Indus. Pension Fund, 575 U.S. 175, 185 n.2 (2015); Va. Bankshares, Inc. v. Sandberg,
501 U.S. 1083, 1092, 1109 (1991). Further, the Court in both Omnicare and Virginia Bankshares
consistently and repeatedly stated that its rulings in those cases were made in the context of the securities
law sections at issue. See, e.g., Omnicare, 575 U.S. at 184; Va. Bankshares, 501 U.S. at 1087. This Court


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        If the Court even superficially engages with Defendants’ argument, it will see that the

Supreme Court of the United States has previously explained unequivocally that opinions may be

objectively false in the context of even hyper-technical securities laws. Omnicare, Inc. v. Laborers

Dist. Council Constr. Indus. Pension Fund, 575 U.S. 175, 184–85, (2015); Va. Bankshares, Inc.

v. Sandberg, 501 U.S. 1083, 1087 (1991).

        As the Court wrote in Omnicare regarding “expressions of opinion[,] . . . every such

statement explicitly affirms one fact: that the speaker actually holds the stated belief.” 575 U.S. at

185 (citing W. Keeton, D. Dobbs, R. Keeton, & D. Owen, Prosser and Keeton on the Law of Torts

§ 109, p. 755 (5th ed. 1984) (“[A]n expression of opinion is always a statement of . . . the fact of

the belief, the existing state of mind, of the one who asserts it.”)). When the speaker does not, in

fact, sincerely hold that opinion at the time of expressing it, the stated opinion is a false statement

of fact about that opinion or belief. See id. As the Court wrote:

                [T]he CEO’s statements about product quality (“I believe our TVs
                have the highest resolution available on the market”) would be an
                untrue statement of fact—namely, the fact of her own belief—if she
                knew that her company’s TVs only placed second. And so too the
                statement about legal compliance (“I believe our marketing
                practices are lawful”) would falsely describe her own state of mind
                if she thought her company was breaking the law. In such cases, [the
                false-statement provision] would subject the issuer to liability
                (assuming the misrepresentation were material).
Id.

        Both the Fifth Circuit and this Court have easily adopted this reasoning. See, e.g.,

Greenberg v. Crossroads Sys., Inc., 364 F.3d 657, 670 (5th Cir. 2004) (“A statement of belief is

only open to objection where the evidence shows that the speaker did not in fact hold that belief




needs nothing more than the law of criminal fraud, plain and simple, to determine that the disputed facts of
this case should go to a jury. See supra at 7–19.

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and the statement made asserted something false or misleading about the subject matter.” (citing

Va. Bankshares, 501 U.S. at 1095–96)); Johnson v. CBD Energy Ltd., No. CV H-15-1668, 2016

WL 3654657, at *9 (S.D. Tex. July 6, 2016) (“Statements of pure opinion are only false if the

speaker did not sincerely hold such opinion at the time of the statement.” (citing Omnicare, 575

U.S. at 185–86)); In re: BP p.l.c.. Sec. Litig., No. 4:10-MD-2185, 2016 WL 3090779, at *9 (S.D.

Tex. May 31, 2016) (“[A] speaker may be held liable for a statement of opinion if the plaintiff can

prove ‘that the speaker did not hold the belief she professed. This proposition is relatively

uncontroversial and was already widely accepted by federal courts, including the Fifth Circuit.”

(quoting Omnicare, at 185–86)).

        This does not “collapse” subjective intent with objective falsity as Defendants claim. Those

concepts go to two different elements: (1) objective falsity as part of the fraudulent scheme, and

(2) subjective fraudulent intent. It is objectively false to assert “my opinion is ‘x’” when the

speaker’s opinion is, in fact, “not ‘x.’” The speaker did not in fact hold that opinion at the time of

the statement and it was either wrong or made without sound basis (objectively false) and he knew

that he did not so hold that opinion and stated it to fraudulently induce others (subjectively false),

i.e., he had subjective fraudulent intent in making the objectively false statement. These are no

doubt odd questions of logic—Justice Scalia aptly referred to them as a “psychic thicket.” Va.

Bankshares, 501 U.S. at 1109. But that makes them no less true and no less clear when properly

considered. 14



        14
            The Court in Virginia Bankshares, and in a footnote in Omnicare, briefly speculates about
situations in which a speaker is “unintentionally accurate”: the speaker intends to lie but it turns out that
what he says is in fact true. See Omnicare, 575 U.S. at 185 n.2; Va. Bankshares, 501 U.S at 1095–96. The
Court in both cases carves these situations out from civil liability under the two relevant subsections of the
Title 15 securities laws in an effort to avoid vexatious civil litigation in those contexts. See, e.g., Omnicare,
575 U.S. at 185 n.2; Va. Bankshares, 501 U.S. at 1095–96. The fraud laws should not be read under those


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        In effect, Defendants made their “opinions” facts by stating them, which carries with it the

implication that they are sincerely held. See, e.g., Omnicron, 575 U.S. at 185. It is alleged, and

must be accepted as true at this stage, that those opinions were not, in fact, sincerely held such that

the statements themselves were false or fraudulent elements of Defendants’ securities fraud

scheme under the fraud laws. See, e.g., supra at 7–10; (SI ¶¶ 13–14). Defendants dispute these

issues of fact, so it is up to the jury to decide what is true. See, e.g., Cheng, 2022 WL 112026 at

*5.

            D. The cases cited by Defendants do not change the conclusion that the
               Superseding Indictment adequately alleges securities fraud and its allegations
               must go to the jury.

        The check-kiting cases Defendants cite are inapposite because, as the cases state, the

checks themselves are not statements that make factual assertions, whereas Defendants at-issue

statements are just that for the reasons explained. For example, the Court in Williams v. United

States explained that “technically speaking, a check is not a factual assertion at all, and therefore

cannot be characterized as ‘true’ or ‘false.’ Petitioner’s bank checks served only to direct the

drawee banks to pay the face amounts to the bearer while committing petition to make good the

obligations if the banks dishonored the drafts. Each check did not, in terms, make any

representation as to the state of petitioner’s bank balance.” 458 U.S. 279, 284–85 (1982). Here, in

contrast, Defendants statements were assertions and representations for all the reasons stated and



hyper-technical limitations of Title 15, as vexatious civil litigation is not a concern and fraudulent pretenses
may on their face be true. See supra at 7–19, 16 n.13.
         Moreover, even in the civil context the Fifth Circuit has made clear that the question over whether
predictions are “false” under “the antifraud provisions of the securities laws. . . . does not turn on whether
the prediction in fact proved to be wrong; instead, falsity is determined by examining the nature of the
prediction—with the emphasis on whether the prediction suggested reliability, bespoke caution, was made
in good faith, or had a sound factual or historical basis.” Isquith for and on Behalf of Isquith v. Middle South
Utilities, Inc., 847 F.2d 186, 203–04 (5th Cir. 1988). Many, if not all of those conditions are absent here,
as alleged. It is for a jury to decide.

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are alleged to be just the sort of “half-truths” and misleading omissions that are the core of

proscribed conduct under the fraud laws. 15 See supra at 10–18.

        The Third Circuit’s opinion in United States v. Harra does not counsel otherwise. 985 F.3d

196 (3d Cir. 2021). Harra dealt at the post-trial stage with the question of what the United States

must prove when pursuing false statements based charges in the face of potentially ambiguous

reporting requirements. Id. at 204. The court held the United States must prove both that Defendant

subjectively intended to lie and that the statement in question was objectively false under the

reporting requirement at issue, which was whether the loans in question were “contractually past

due.” Id.

        There, the United States advanced two theories of liability: (1) a “waiver practice” theory

in which, under the bank’s ordinary internal practices, defendants treated waived loans as current

and, thus, did not report them under the requirement; and (2) an “extend and pretend” theory where

defendants would issue short term extensions of loans approaching maturity so as not to have to

report them. The court rejected the “waiver practice” theory as false under the ambiguous reporting

requirement, because “contractually” could be fairly understood to include the bank’s ordinary

practices of not counting waived loans as past due. Id. at 218–221. Critically, however, the court

held that there was sufficient evidence to support securities fraud liability under the “extend and

pretend” theory, writing that “a rational juror could conclude that Defendants had knowingly

caused maturing loans to be extended in order to push them off the books for 2009 and conceal the

poor financial health of the Bank from investors . . . .” Id. The court remanded for retrial on the

“extend and pretend” theory alone. Id. at 225.



        15
           Defendants’ reliance on United States v. Medeles, a Fifth Circuit case asserting the same
proposition that a “check is not an assertion,” is inapposite for the same reasons. Compare United States v.
Medeles, 916 F.2d 195, 199–200 (5th Cir. 1990), with, e.g., supra at 7–19.

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       Harra is obviously inapposite insofar as it was concerned entirely with false statements in

the context of interpretating potentially ambiguous reporting requirements. See id. Nevertheless,

to the extent concepts in Harra do fairly analogize here, this case is entirely consistent with

Harra’s relevant pronouncements. First, the “extend and pretend” theory the court found viable

for securities fraud was premised on a literally true statement: the loans at issue were not

“contractually past due” under the same interpretation that ousted the “waiver” theory. See id. at

218–221. But, reporting them as such rested not on the ordinary practices of the bank, but on the

material omission that defendants had pushed them off the books to “conceal the poor financial

health of the Bank from investors.” Id. at 223. That ruling is entirely consistent with, and

demonstrates the illegality of, the fraud alleged here. See id.

       Second, the intent to defraud and the fraudulent scheme itself are separate elements of

Section 1348, and the United States has alleged and intends to prove them as such, as already

discussed at length. See supra at 7–19. In Harra, the question of falsity under either theory of the

case turned on temporal and empirical factors—whether loans were contractually past due—that

were entirely independent of those defendants’ intent or opinions or states of mind. See id. In

contrast, here there were no reporting requirement to which Defendants were responding when

they chose to speak fraudulently on the subject of their stock trading, all with fraudulent intent, as

alleged. Defendants put their trading intentions at issue by speaking on them, which necessarily

concerns Defendant’s states of mind both for the question of the objective falsity of the

representation and the question of subjective fraudulent intent. Referencing Defendants’ mental

states as premises from which to conclude their public messages were objectively false or

misleading is different from saying that Defendant made that false statement with the requisite

fraudulent intent to induce others with that statement and deprive them of money or property.



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See, e.g., Omicron, 575 U.S. at 185. The United States has alleged both. (See, e.g., SI ¶ 121.) Thus,

the allegations in the Superseding Indictment are completely consistent with all relevant points in

Harra.

         Nor do the cases the defense cites for the proposition that fraud claims must be based on

fact, not opinions, counsel for a different outcome. (See Br. at 12.) 16 Notably, Defendants cite

cases from every domain except cases involving the criminal fraud laws to support these

propositions, and instead rely on cases under different statutes criminalizing false statements with

different elements. 17 There is no dispute that the expression of a sincerely held opinion is not a

false or fraudulent statement. That is not what is alleged in the Superseding Indictment for all the

reasons explained. See supra at 7–19.

         The defense cites numerous additional civil cases on the notion of objective indicia of

falsity for predictive statements or opinions. As those cases make clear “a defendant does not place

itself beyond the reach of the securities laws merely by disclosing information that is predictive in

nature . . . whether liability is imposed depends on whether the predictive statement was false when




         16
           The defense’s parenthetical description of (and pin citation to) United States v. Campbell are
wrong and misleading and should give the Court pause about facial reliance on defense parentheticals.
Compare United States v. Campbell, 64 F.3d 967, 977–78 (5th Cir. 1995) with (Br. at 12). That opinion
held that the trial evidence was sufficient to support Defendant’s conviction for making a false entry in
bank records under 18 U.S.C. § 1005, but insufficient to sustain the convictions for bank fraud (18 U.S.C.
§ 1344) and conspiracy to commit the same (18 U.S.C. § 371) because there was not sufficient trial evidence
of “material misrepresentations . . . .” Campbell, 64 F.3d at 977–78. The opinion said nothing with respect
to the fraud counts about the proposition for which the defense cites it and erroneously describes in their
parenthetical, i.e., the distinction between objective and subjective falsity in the context of bank fraud.
Compare id. with (Br. at 12). Defendants’ pin citation, and the quoted language in the parenthetical,
references the portion of the opinion simply reciting the elements of the Section 1005 charge, the count of
conviction that court affirmed, not the bank fraud charges the defense misleadingly describes as relating to
that quoted language. Compare id. with (Br. at 12).
         17
           To be fair, the Defendants cite the single line of dicta in Matthews, where the Fifth Circuit wrote
that “fraud claims must be based on misrepresentations of material fact, not opinion.” Matthews, 2002 WL
261421, at *9. But, again, there is no dispute that sincerely held opinion is not false or fraudulent under the
fraud laws. That is not what is alleged here.

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made.” SEC v. Life Partners Hldgs., Inc., 41 F. Supp. 3d 550, 560 (W.D. Tex. 2013) (quoting

Rubenstein v. Collins, 20 F.3d 160, 166 (5th Cir. 1994)); (Br. at 13). And as the Fifth Circuit has

explained: “the answer to this inquiry [whether a predictive statement is ‘false’ when made,] does

not turn on whether the prediction in fact proved to be wrong; instead, falsity is determined by

examining the nature of the prediction—with emphasis on whether the prediction suggested

reliability, bespoke caution, was made in good faith, or had a sound factual or historical basis.”

Isquith v. Middle South Utilities, Inc., 847 F.2d 186, 203–04 (5th Cir. 1988) (emphasis added). It

is impossible to act in good faith while at the same time committing fraud. See, e.g., United States

v. Frame, 236 Fed. App’x 15, 18 (5th Cir. 2007) (affirming denial of good faith jury instruction in

fraud case where the instructions made clear that “the jury was required to acquit [defendant] if,

because of his good faith, he lacked specific intent” to defraud); United States v. Mutuc, 349 F.3d

930, 936 (7th Cir. 2003) (“[I]t is impossible to intend to deceive while simultaneously acting in

good faith.”).

       Even though the correct place to look for these standards is the criminal fraud laws, see

supra at 7–10, the Superseding Indictment adequately alleges Defendants had no such good faith,

i.e. they had fraudulent intent, when making the at-issue statements such that the statements are

alleged to be objectively false or fraudulent as a matter of law and must go to the jury.

                                         *       *       *
       At base, the defense arguments set forth a fundamentally mistaken understanding of the

law of fraud. It is beyond dispute that statements may be false or fraudulent for purposes of the

fraud statutes when they are misleading half-truths or omissions made with fraudulent intent. See

surpa at 10–15. That is what the Superseding Indictment alleges. A jury must decide if it is so.

See, e.g., Cheng, 2022 WL 112026 at *5.



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    II.        Section 1348 plainly prohibits schemes to defraud involving securities, the statute
               requires fraudulent intent, and such fraud schemes have long been prohibited,
               raising no Due Process issues here.

               A. Legal Standard

          “As generally stated, the void-for-vagueness doctrine requires that a penal statute define

the criminal offense with sufficient definiteness that ordinary people can understand what conduct

is prohibited and in a manner that does not encourage arbitrary and discriminatory enforcement.”

Kolender v. Lawson, 461 U.S. 352, 357 (1983). A vagueness challenge not premised on the First

Amendment is evaluated as-applied, rather than facially. Chapman v. United States, 500 U.S. 453,

467 (1991)).

          Critically, “[u]nder our precedents, a scienter requirement in a statute alleviates vagueness

concerns, narrows the scope of its prohibition, and limits prosecutorial discretions.” McFadden v.

United States, 576 U.S. 186, 197 (2015) (internal quotation and citations omitted). “This follows

from the general principle that where scienter is required no crime is committed absent the requisite

state of mind.” Gonzales v. Carhart, 550 U.S. 124, 148 (2007).

               B. The statute’s plain text proscribes the alleged conduct and Section 1348
                  requires proof of fraudulent intent.

          The text of Section 1348 is clear in its scope and application. It prohibits schemes (1) to

defraud in connection with any security; or (2) to obtain, by means of false or fraudulent pretenses,

representations, or promises, any money or property in connection with the purchase or sale of any

security. 18 See 18 U.S.C. § 1348. This is understandable to any ordinary person: the statute

prohibits schemes to defraud involving securities.



           This excerpt omits statutory language for ease and on the presumption that the Court is familiar
          18

with the text. Note, however, that the omitted language supplies further particularity, requiring the securities
covered to be those “of an issuer with a class of securities registered under section 12 of the Securities


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       Critically, Section 1348 has “a scienter requirement” which “alleviate[s] vagueness

concerns.” McFadden, 576 U.S. at 197 (internal quotations and citation omitted). To obtain a

conviction, the United States must prove (and has alleged) that Defendants had the specific intent

to defraud—in other words, they knew exactly what they were doing when they were doing it.

Compare Gonzales, 550 U.S. at 148 with (SI ¶ 40 (“We’re robbing f*cking idiots of their money.”),

¶ 18 (“we gotta look less obvious”)).

       The rule of lenity does not apply because the statute is not ambiguous. See, e.g., Wooden

v. United States, 142 S. Ct. 1063, 1075 (2022) (Kavanaugh, J., concurring) (“Importantly, the rule

of lenity does not apply when a law merely contains some ambiguity or is difficult to decipher. As

this Court has often said, the rule of lenity applies only when ‘after seizing everything from which

aid can be derived,’ the statute is still grievously ambiguous.” (internal quotations and citations

omitted)); United States v. Bases, No. 18-cr-48, 2020 WL 2557342, at *12 (N.D. Ill. May 20,

2020) (finding, with respect to Section 1348, that “because the statute is not ambiguous as applied

to Defendants’ conduct, the rule of lenity does not apply”).

       Courts have denied vagueness challenges to Section 1348 with ease. For example, as one

court denying such a challenge wrote:

               [Defendant] does not articulate why a person of ordinary
               intelligence would be unable to understand the conduct prohibited
               by 18 U.S.C. § 1348. In other words, [Defendant] has failed to show
               that the language of 18 U.S.C. § 1348 is so vague as to create a trap
               for the unwary and permit arbitrary enforcement. The statute’s
               language is intentionally broad because congress sought to create a
               mechanism by which prosecutors could combat the myriad of ever-
               evolving securities fraud schemes.
               With regard to the second prong of the analysis—whether the law
               provides explicit standards to be applied—the Court notes that the

Exchange Act of 1934 (15 U.S.C. § 78l) or that is required to file reports under section 15(d) of the
Securities Exchange Act of 1934 (15 U.S.C. § 78o(d)) . . . .” 18 U.S.C. § 1348.

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               requisite elements of the statute are straightforward. In order to
               prove a violation of 18 U.S.C. § 1348, the Government must show:
               (1) fraudulent intent; (2) a scheme or artifice to defraud; and (3) a
               nexus with a security. The Court finds that this standard is
               sufficiently clear to prevent the arbitrary or discriminatory
               application of 18 U.S.C. § 1348. Accordingly, [Defendant’s] “as
               applied” challenge is denied.

United States v. Motz, 652 F. Supp. 2d 284, 295 (E.D.N.Y. 2009) (internal quotations and citations

omitted); see also United States v. Smith, 555 F. Supp. 3d 563, 577–79 (N.D. Ill. 2021); Bases,

2020 WL 2557342, at *11–13; United States v. Coscia, 100 F. Supp. 3d 653, 659–61 (N.D. Ill.

2015), aff’d, 866 F.3d 782 (7th Cir. 2017). That court also noted that “[a]ccording to the legislative

history, the overarching purpose of the statute was to broaden the range of conduct proscribed by

existing federal securities laws.” Motz, 652 F. Supp. 2d at 294 (citing 148 Cong. Rec. S7420–21

(daily ed. July 26, 2002) (statement of Sen. Leahy), available at 2002 WL 1731002).

       Nor does any absence of authority interpreting Section 1348 under facts precisely such as

these fail to provide Defendants notice that their fraudulent scheme was prohibited. 19 That is


       19
            In discussing the advent of Section 1348, Senator Leahy made clear the law’s scope and
application was specifically intended to provide the flexibility to encompass novel schemes. The Senator
also expressly explained that Section 1348 was necessary to ensure a technical Title 15-based defense,
precisely like the one Defendants advance here, would not stand in the way of justice:
               Currently, unlike bank fraud or health care fraud, there is no generally
               accessible statute that deals with the specific problem of securities fraud.
               In these cases, federal investigators and prosecutors are forced either to
               resort to a patchwork of technical Title 15 offenses and regulations, which
               may criminalize particular violations of securities law, or to treat the cases
               as generic mail or wire fraud cases and to meet the technical elements of
               those statutes, with their five year maximum penalties.

               This bill, then, would create a new 25 year felony for securities fraud—a
               more general and less technical provision comparable to the bank fraud
               and health care fraud statutes in Title 18. It adds a provision to Chapter 63
               of Title 18 at section 1348 which would criminalize the execution or
               attempted execution of any scheme or artifice to defraud persons in
               connection with securities of publicly traded companies or obtain their
               money or property. The provision should not be read to require proof


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simply not the law. Multiple courts facing this question with respect to Section 1348 already have

rejected such challenges in the arguably more novel circumstances of spoofing prosecutions. As

one court wrote:

               The same challenge to [Section 1348] was rejected by the district
               court in Coscia. Like Defendants here, Coscia claimed an absence
               of authority “that could have provided reasonable notice that [his]
               trading activity might be considered a form of fraud at the time of
               that activity.” But the district court “declin[ed] to conclude, based
               solely on the scarcity of cases interpreting [Section 1348] that the
               statute fails to provide a person of ordinary intelligence fair notice
               of the conduct that it prohibits,” finding that the indictment, which
               alleged false impressions, fraudulent inducement, and tricking
               others, was “consistent with [a] scheme to defraud . . . .”
               Similarly, the present indictment alleges that Defendants presented
               false and misleading information to market participants, inducing
               them to execute transactions that inured to Defendants’ financial
               benefit. . . . Regardless of the novelty of the conduct, so long as it
               falls within the statute’s plain language, as is the case here, there is
               fair notice. . . . For these reasons, Defendants’ motions to dismiss
               the indictment on vagueness grounds is denied.

Bases, 2020 WL 2557342, at *11–13 (quoting Coscia, 100 F. Supp. 3d at 661) (internal citations

omitted). Like the indictments in Bases and Coscia, the Superseding Indictment alleges that



               of technical elements from the securities laws, and is intended to
               provide needed enforcement flexibility in the context of publicly
               traded companies to protect shareholders and prospective
               shareholders against all the types scheme and frauds which inventive
               criminals may devise in the future. The intent requirements are to be
               applied consistently with those found in 18 U.S.C. §§ 1341, 1343, 1344,
               1347.

               By covering all “schemes and artifices to defraud” (see 18 U.S.C. §§ 1344,
               1341, 1343, 1347), new § 1348 will be more accessible to investigators
               and prosecutors and will provide needed enforcement flexibility and, in
               the context of publicly traded companies, protection against all types
               schemes [sic] and frauds which inventive criminals may devise in the
               future.

148 Cong. Rec. S7420–21 (daily ed. July 26, 2002) (statement of Sen. Leahy), available at 2002 WL
1731002 (emphasis added).

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Defendants presented false and misleading information to their followers, inducing them to

execute securities transactions that inured to Defendants’ financial benefit, all with the specific

intent to defraud. See id.; (SI ¶¶ 1, 13–14, 116–21).

        Still another court persuasively dispelled the same challenge to Section 1348 in a different

spoofing prosecution:

                Federal fraud statutes are regularly deployed—without vagueness
                concerns—to prosecute conduct that could also be prosecuted under
                other criminal statutes. . . .
                [T]he relative recency of spoofing prosecutions . . . does not justify
                dismissal. Although due process bars courts from applying a novel
                construction of a criminal statute to conduct that neither the statute
                nor any prior judicial decision has fairly disclosed to be within its
                scope, it permits a statute’s application to novel conduct so long as
                it [is] within the statute’s plain language. . . . [F]ederal fraud statutes
                have long been used to prosecute implied misrepresentations . . . .
                This is nothing new, at least in terms of a surprise interpretation of
                a statute. Defendants had fair notice that federal fraud statutes could
                criminalize their alleged conduct.

Smith, 555 F. Supp. 3d at 577–79 (internal quotations and citations omitted).

        As these courts have recognized, schemes to defraud are nothing new. In its most basic

elements as a scheme to defraud, the conduct alleged in the Superseding Indictment has been

proscribed for generations. See, e.g., Durland v. United States, 161 U.S. 306, 313 (1896) (“It is

common knowledge that nothing is more alluring than the expectation of receiving large returns

on small investments. . . . In the light of this the [mail fraud] statute must be read, and, so read, it

includes everything designed to defraud by representations as to the past or present, or suggestions

and promises as to the future. The significant fact is the intent and purpose.”). The fact that this

charged scheme was perpetrated on social media makes the scheme novel as to the means of

execution, but not the scheme’s core elements as a fraud, which is the proper level of generality

for the vagueness analysis. See, e.g., Vorley, 420 F. Supp. 3d at 806–07 (noting, in rejecting a

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vagueness challenge to Section 1348, that “[t]he novelty of this prosecution, however, is in larger

measure a function of the novelty of the scheme”).

        And pump-and-dump schemes themselves—saying one thing publicly about a stock and

trading another way privately—have long been prohibited under numerous laws proscribing fraud.

See, e.g., United States v. Steven Gallagher, No. 1:22-cr-122 (S.D.N.Y. July 6, 2022) (ECF Nos.

1, 11, 28) (securities fraud guilty plea for social media-based pump and dump); United States v.

Enger, 427 F.3d 840, 854 (10th Cir. 2005) (affirming securities fraud conviction where “[t]he

record show[ed] that at the same time as Wenger had been advising readers to buy PanWorld stock,

Wenger himself was selling his shares”); SEC v. Huttoe, 96-cv-2543, 1998 WL 34078092, at *7

(D.D.C. Sept. 14, 1998) (the “practice of selling when . . . recommending buying has long been

understood to operate as a fraud or deceit upon investors”); Zweig v. Hearst Corp., 594 F.2d 1261,

1265–66 (9th Cir. 1979) (finding that financial columnist’s failure to reveal to readers his practice

of “scalping” the stocks of companies he wrote about was a material nondisclosure creating

liability).

              C. Defendants’ reference to an incomplete smattering of securities laws does not
                 establish that his conduct “falls outside the scope of established securities
                 laws” such that schemes to commit securities fraud like the one alleged are
                 permitted.

        Defendants’ curious reasons for expounding at length on a random smattering of irrelevant

securities laws are not stated fully and clearly in Defendants’ brief. It seems, though, that the

defense wastes paper cataloguing those unrelated laws in the hopes of making two points:

(1) because these irrelevant laws do not themselves impose upon Defendants a duty to disclose

their securities transactions, no such duty existed and their charged fraudulent scheme was lawful

(see Br. at 24, 27–28); and (2) because the irrelevant laws in the self-selected set do not themselves

prohibit Defendants’ conduct, Defendants were not on notice that their charged conduct was

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prohibited (see Br. at 18–23). 20 Those arguments are utter nonsense.

        First, as to the question of disclosure, the law is clear that the “fraud statutes do not require

a duty to disclose imposed by statute or regulation.” Mathews, 2002 WL 261421, at *9 (5th Cir.

2002). Unlike Defendants, courts recognize that “[i]t requires no extended discussion of authority

to demonstrate that omissions or concealment of material information can constitute fraud . . .

without proof of a duty to disclose the information pursuant to a specific statute or regulation.”

United States v. Keplinger, 776 F.2d 678, 697–98 (7th Cir. 1985); see also United States v.

Swenson, 25 F.4th 309, 318 n.3 (5th Cir. 2022) (quoting and citing Keplinger for this proposition);

United States v. Colton, 231 F.3d 890, 904 (4th Cir. 2000) (“[T]he government need not

demonstrate that defendants who successfully and intentionally engaged in a fraudulent scheme to

actively conceal material facts . . . had an independent duty to disclose such facts. Rather, evidence

of such a scheme in and of itself suffices.”); United States v. Morris, 80 F.3d 1151, 1161 (7th Cir.

1996) (“[T]he [fraud] statutes apply not only to false or fraudulent representations, but also to the

omission or concealment of material information, even where no statute or regulation imposes a

duty of disclosure.”); Smith, 555 F. Supp. 3d at 576 (explaining, in the context of Section 1348,

that “[t]he ‘concept of misrepresentation . . . can also include the omission or concealment of

material information, even absent an affirmative duty to disclose, if the omission was intended to

induce a false belief and action to the advantage of the scheme and the disadvantage of the victim.’”

(quoting United States v. Weimert, 819 F.3d 351, 355 (7th Cir. 2016) (emphasis added)); Vorley,

420 F. Supp. 3d at 801 (“[T]he existence of a fiduciary, regulatory, or statutory duty to disclose



        20
           It is noteworthy that Defendants’ self-selected subset of securities laws omits numerous laws
concerning securities fraud, which is all this case is about. That flagrant omission alone belies the
incredibility and insincerity of the defense arguments. At the very least, it demonstrates that the defense
has not taken the allegations of the Superseding Indictment as true, as required at this stage. It is impossible
to do that as well as to maintain that laws proscribing securities fraud are irrelevant.

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material information is not required to make an omission actionable under the mail and wire fraud

statutes.”). That is so because “the scheme to defraud is a ‘departure from fundamental honesty,

moral uprightness, or fair play and candid dealings in the general life of the community.’”

Matthews, 2002 WL 261421, at *9 (quoting United States v. Goldblatt, 813 F.2d 619, 624 (3d Cir.

1987)).

          In this particular case, the duty to disclose arose when Defendants chose to speak on the

subject of their stock trades. See, e.g., United States v. Townley, 665 F.2d 579, 585 (5th Cir. 1982),

cert. denied, 456 U.S. 1010 (1982) (“[I]t is just as unlawful to speak ‘half truths’ or to omit to state

facts necessary to make the statements made, in light of the circumstances under which they were

made, not misleading.”); see also United States v. Autouori, 212 F.3d 105, 119 (2d Cir. 2000) (“A

duty to disclose can also arise in a situation where a defendant makes partial or ambiguous

statements that require further disclosure in order to avoid being misleading.”). This is not a case

of “mere omissions,” but “affirmative misrepresentations.” See, e.g., United States v. Biesiadecki,

933 F.2d 539, 543 (7th Cir. 1991). At the point Defendants chose to speak about their stock trading,

they assumed the duty to speak fully and truly, not falsely or fraudulently with fraudulent intent.

See, e.g., Townley, 665 F.2d at 585. As alleged, they did not speak fully and truly, but falsely and

fraudulently with requisite intent. The Superseding Indictment pleads that plain as day. It is up to

a jury to decide what is true.

          Second, as already discussed at length, Section 1348 clearly prohibits the charged securities

fraud scheme. See supra at 7–19. Thus, the fraud laws and their interpretation provided Defendants

adequate notice that their conduct was proscribed. See id. That is particularly so because Section

1348 requires that they acted with the specific intent to defraud. See McFadden, 576 U.S. at 197;

supra at 24.



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       Instead of engaging with any of this relevant law (likely because it’s fatal to their cause),

the defense smatters page after page with absolutely irrelevant securities laws hoping something

will stick. Simply because Defendant is not a securities issuer or registered investment advisor or

insider or whatever else does not mean he cannot be liable for securities fraud. The text of Section

1348—the only relevant securities statute—makes that crystal clear. The Court should ignore these

portions of Defendants’ brief that are replete with red herrings; they present textbook irrelevance

fallacies and nothing more. (See Br. at 14–18, 20–28.) Those statutes are not charged and have no

bearing on the case, as Section 1348 is not interpreted in light of them.

       For example, Defendant points to certain provisions restricting buying and selling for

insiders and then points out that “[n]either rule places restrictions on non-insider’s sale of non-

restricted registered securities.” (Br. at 16.) The United States has not alleged that they do. The

United States has alleged that Defendant participated in a fraudulent scheme with fraudulent intent

and it is precisely that involvement that created the alleged securities fraud liability under Section

1348. References to laws restricting sales for insiders are wholly irrelevant.

       As to the notion that Defendant was not compensated for his advice, so cannot be subject

to the restrictions of the Investment Advisers Act of 1940 (IAA), 15 U.S.C. § 80b-1 et seq., again,

this is not alleged. Defendant is, however, restricted from participating in a scheme to defraud

involving securities by the express terms of Section 1348. The duty not to commit securities fraud

exists in the plain language of Section 1348 applicable to all. And any duty not to make false,

misleading, or otherwise fraudulent statements about securities arose when Defendant chose to

make statements about and trade in those securities. See, e.g., Townley, 665 F.2d at 585; supra at

29–31. References to the IAA, or compensation for investment advice, have no place in this case

and do nothing to change the scope covered by the plain language of Section 1348.



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       As to the notion that the securities laws permit coordinated group trading of securities, the

defense itself states a critical limitation absent here: that “the trading is not done for an unlawful

purpose.” (Br. at 16 (citing 15 U.S.C. § 78i(a)(2), (a)(6), (d); Regulation 13D/13G).) Obviously,

here, coordinated trading and/or social media posting is alleged to have been done as part of a

fraudulent scheme and a conspiracy to commit securities fraud. Those allegations must be taken

as true. See, e.g., Kay, 359 F.3d at 742. It is up to the jury to decide. See, e.g., Cheng, 2022 WL

112026, at *5. As such, this point is also irrelevant.

       As to Defendants’ repeatedly expressed notion of the “unworkability” of Section 1348 and

their puzzling confusion over when someone who speaks publicly about stocks may ever safely

sell them: there are no allegations that merely tweeting subjects someone to liability for securities

fraud. (See generally SI.) Nor are there allegations that merely trading subjects one to liability for

securities fraud. (See generally id.) Nor are there even allegations that honest tweeting and trading

subjects someone to securities fraud. (See generally id.)

       The allegations are that one incurs liability for securities fraud when one meets the

elements of Section 1348 by engaging in a scheme to defraud in making false and fraudulent public

statements, omitting and concealing the truth, and doing so with fraudulent intent, all in connection

with securities. More concretely, do not engage in a blatant, repeated fraudulent scheme,

coordinated by private communications among many participants, to front load stocks and then

tell followers one thing while actually doing another, all with fraudulent intent. More succinctly:

don’t commit fraud. It isn’t as complicated as the defense wants it to seem. The Court should reject

these ill-founded, slippery-slope sophistries.

                                          *       *       *




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        At base, Defendants point to all these irrelevant securities fraud provisions in order to make

the point that they could not have known what they are alleged to have done was wrong. Nonsense.

Defendant Knight (the youngest Defendant in the case) understood exactly what the Defendants

were doing and why it was illegal. (See SI ¶ 40 (“We’re robbing f*cking idiots of their money.”).)

And if they didn’t intend that, then they didn’t have the requisite fraudulent intent anyway. That

is an issue for the jury.

        Defendants also point to these irrelevant laws to say that they did not have a duty under

those irrelevant provisions to disclose their stock sales. We agree. The relevant duty arose when

they chose to post about and trade in the stocks. At that point, they had a duty to speak truthfully

or without fraudulent intent, to not engage in the charged fraudulent scheme. In other words, they

had a duty once they chose to speak not to post false, misleading, or otherwise fraudulent

information publicly in the hopes of inducing their followers to enter the stock they already held

so that they had the liquidity and hopefully price movement in order to sell their shares at a profit,

while concealing that true intent and plan from their followers by omitting it in their public posts,

as alleged. That is the essence of the fraud. And that has long been prohibited.

            D. The Superseding Indictment adequately pleads a conspiracy to commit
               securities fraud under Section 1349 and Defendants had fair notice that their
               alleged conduct was prohibited.

                1. Legal Standard

        To allege a count of conspiracy under Section 1349, the United States must state facts

showing that “(1) two or more persons made an agreement to commit an unlawful act; (2) the

defendant knew the unlawful purpose of the agreement; and (3) the defendant joined the agreement

willfully, with the intent to further the unlawful purpose.” United States v. Simpson, 741 F.3d 539,

547 (5th Cir. 2014).



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          As the Fifth Circuit has made clear, “[t]he jury may infer from circumstantial evidence the

existence of a conspiracy.” Matthews, 2002 WL 261421, at *7 (citing United States v. Burton, 126

F.3d 666, 670 (5th Cir. 1997)). “The agreement between conspirators may be silent and need not

be formal or spoken. An agreement may be inferred from concert of action, voluntary participation

may be inferred from a collection of circumstances, and knowledge may be inferred from the

surrounding circumstances.” United States v. Grant, 683 F.3d 639, 643 (5th Cir. 2009) (internal

quotations and citations omitted).

          “And, once the Government produces evidence of a conspiracy, only slight evidence is

needed to connect a defendant to it.” Matthews, 2002 WL 261421, at *7 (citing United States v.

Jensen, 41 F.3d 946, 954–55 (5th Cir. 1994), cert. denied, 514 U.S. 1101 (1995)). “If found to be

a member of a conspiracy, a defendant is liable for all substantive offenses committed in

furtherance of it, even if he is unaware of those specific offenses.” Id. (citing United States v.

Phillips, 219 F.3d 404, 417 (5th Cir. 2000); Jensen, 41 F.3d at 955).

                 2. The Superseding Indictment adequately alleges a securities fraud conspiracy
                    and Defendants had fair notice of that crime such that the allegations must go
                    to a jury.

          The defense appears to make three arguments with respect to the Section 1349 conspiracy

charge:

                 (i)     there can be no conspiracy because Defendants’ actions were lawful;
                 (ii)    whether or not Defendants’ actions were lawful, they did not have sufficient
                         notice that they could be prosecuted for the charged scheme and, thus,
                         conspiracy; and
                 (iii)   a smattering of factual contentions about the Superseding Indictment’s
                         allegations that very clearly belong in the province of the jury.

(Br. at 23–28.) The Court should swiftly reject each of these specious claims.

          First, Defendants’ contention that there can be no conspiracy because their actions were

lawful is utterly wrong for all the reasons discussed. See supra at 7–34. The Superseding

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Indictment precisely alleges that “Defendants agreed to do something unlawful under the securities

laws [and] that they concealed something they were required to disclose.” Compare id. with (Br.

at 24).

          As to the question of the lawfulness of the charged conduct, Defendants list numerous acts

they are alleged to have engaged in and note that “the securities laws permit these alleged

activities,” including:

                 (i)      Making bona fide market purchases of non-restricted securities at
                          prevailing market prices;
                 (ii)     Recommending and encouraging others to buy those securities;
                 (iii)    Speculating about the price those securities might reach;
                 (iv)     Sharing truthful information about the companies on social media, and
                 (v)      Making bona fide sales at prevailing market rates of those non-restricted
                          securities without disclosing the sales.

(Br. at 24.) The United States agrees that those activities alone or even in some combination, when

done in a lawful manner without fraudulent intent, do not implicate Section 1348 or a related

Section 1349 charge. But when done in a scheme to defraud with the requisite fraudulent intent—

all of which is fully alleged in the Superseding Indictment—such a scheme involving some or all

of these activities absolutely may generate securities fraud liability under Section 1348 and liability

for conspiracy to commit the same under Section 1349. Stripped bare, Defendants’ contentions

involve core factual issues that must go to a jury. See, e.g., Cheng, 2022 WL 112026 at *5.

          Second, because Defendants were on notice that their charged fraudulent conduct was

proscribed by Section 1348 for all the reasons discussed, see supra at 7–19, they were certainly on

notice that a conspiracy to commit that fraud was also proscribed. Section 1349 has been used to

prosecute securities fraud conspiracies since shortly after the statute became effective in 2002, and

numerous such prosecutions have since ensued. See, e.g., Bases, 2020 WL 2557342, at *1;


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Mahaffy, 2006 WL 2224518, at *1. And prosecution for conspiracies with unlawful objects are

almost as old as the law itself. See, e.g., Poulterer’s Case, 77 Eng. Rep. 813 (K.B. 1611); Albet J.

Harno, Intent in Criminal Conspiracy, 89 U. Pa. L. Rev. 624, 624–25 (1941).

       Third, with an unlawful object established, the Superseding Indictment need only allege

sufficient facts to meet the elements of Section 1349, which it certainly does in alleging the

securities fraud conspiracy among Defendants. The Superseding Indictment does so through

reference to voluminous and varied types of evidence that—frankly, are rare to have together in a

single case—and sufficiently alleges knowing and willful agreement among Defendants to join in

the unlawful conspiracy with the requisite intent.

       For example, Defendant Constantinescu’s conversation with Defendant Matlock in which

he plots improvements to the execution of the securities fraud scheme is, alone, enough to infer

knowing and willful agreement. See (SI ¶ 18 (“we gotta look less obvious”)); supra at 4. And that

is but one of many examples included in the Superseding Indictment of various of Defendants

coordinating, discussing, and even admitting to the scheme in private discussions. See, e.g., (SI ¶¶

18, 22, 24, 26, 56–61, 65–70, 103). That is more than sufficient to establish the knowing and willful

agreement. See, e.g., Grant, 683 F.3d at 643.

       And once the agreement itself is established, “only slight evidence is needed to connect a

defendant to it.” Matthews, 2002 WL 261421, at *7. That additional evidence itself is alleged in

various forms. The allegations that every Defendant posted about and/or traded in the same stocks

at the same time of at least one other Defendant is sufficient to infer involvement in the

agreement—it demonstrates the common goal and purpose of the conspiracy. Particularly coupled

with the express coordination communications alleged, such evidence is a basis to infer illicit

coordination. And even beyond that, the Superseding Indictment references how Defendants held



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themselves out together to the investing public, presenting images of success as evidence of

credibility and encouraging investors to join their group. (See, e.g., SI, ¶ 10–12.) It references

Defendants Hennessey’s and Defendant Knight’s podcast on which they discussed their trading.

(See id. ¶¶ 8–9, 12.) And so on and so forth. There simply is no question here whether the

Superseding Indictment adequately alleges the charged conspiracy.

         Defendants’ arguments on this point are yet another attempt to make factual contentions

wholly inappropriate in this procedural posture. The Court should disregard these flagrant forays

into the fiefdom of the jury. Pointing out for example that, as alleged, Defendants did not all buy

or sell or post about all the same stocks at all the same times are factual arguments about what

inferences a jury should or should not make from the evidence. Compare Cheng, 2022 WL 112026,

at *5 with (Br. at 24–28). And as discussed, there are many facts alleging concert of action, both

in trading and posting together and in privately planning the scheme. The Superseding Indictment

adequately alleges a securities fraud conspiracy. It is for the jury to say what is so. See, e.g., Cheng,

2022 WL 112026 at *5.

                                              Conclusion

         The allegations of the Superseding Indictment sufficiently allege a securities fraud scheme

and conspiracy. Those allegations charge Defendants with conducting their pump and dump

scheme repeatedly, across years, through innumerable false and misleading statements and

omissions. The fraudulent nature of these statements is laid bare by comparing them with the

trading records, as well as private communications among coconspirators that further demonstrate

Defendants’ orchestrating the scheme and confirm both the objective falsity of their public

representations as well as their privately harbored fraudulent intent. A jury must be permitted to

consider that, as alleged, Defendants knew exactly what they were doing: committing securities

fraud.
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Dated: June 9, 2023          Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

        I hereby certify that on June 9, 2023, I will cause the foregoing motion to be electronically

filed with the Clerk of the Court using the CM/ECF system, which will provide copies to counsel

for all parties.



                                              /s/ John J. Liolos
                                              John J. Liolos, Trial Attorney
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